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                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION
   __________________________________________

   IN RE: COOK MEDICAL, INC. IVC FILTERS
   MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTSLIABILITY LITIGATION                                                    MDL No. 2570
   __________________________________________

   This Document Relates to Plaintiff: Rusty Alto

   Civil Case #: 1:19-cv-2300


                 PLAINTIFF’S RESPONSE AND OPPOSITION TO
      THE COOK DEFENDANTS’ OMNIBUS MOTION FOR SUMMARY JUDGMENT
                 IN 46 MISCHARATERIZED NO INJURY CASES

          Plaintiff Rusty Alto hereby requests this Court deny Defendants’ Omnibus Motion for

   Summary Judgment in 46 Mischaracterized No Injury Cases [Doc. 11923] and Memorandum in

   Support of the same [Doc. 11924] (cumulatively herein “Summary Judgement Motion”) as moot

   based on the following:

          On August 1, 2019, the Defendants filed their Summary Judgement Motion seeking

   summary judgment on 46 cases, including Plaintiff Rusty Alto’s case. Defendants seek summary

   judgment in Plaintiff Alto’s case because his claimed injury was a tilt of the filter. Memo in

   Support of Summary Judgement Motion, Doc. 11924, p. 1. The defendants argue that filter tilt is

   “not a cognizable injury under applicable case law and the Court’s categorization framework.” Id.

   The defense further elaborated: “First, the 27 Tilt-Only Cases fail to raise a legally cognizable

   injury because tilt is not an injury—mere tilt of an IVC filter is, at best, a precursor to a potential

   future complication that may or may not materialize, which itself may or may not lead to

   symptomatic actual injuries.” Id. at p. 2. In a nutshell, the defense argues that plaintiff has not

   sustained an injury, and thus summary judgement should be granted against him.
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           Plaintiff does not believe summary judgment is the proper remedy in a situation such as

   this one, where the defense alleges no injury has occurred and no cognizable claim exists, and the

   more appropriate remedy is a dismissal without prejudice. Contemporaneously with this response

   and opposition, Plaintiff has filed a motion to dismiss the above-captioned action without prejudice

   pursuant to Federal Rule of Civil Procedure 41(a)(2), which is expressly incorporated herein. As

   detailed in that motion to dismiss, the defense has already agreed to dismissal without prejudice in

   this case but refuse to stipulate to such a dismissal without the addition of improper and unfair

   limitations on the plaintiff that he is unwilling to agree to.

           For the reasons stated herein and in Plaintiff’s contemporaneously filed motion to dismiss

   without prejudice, Plaintiff respectfully requests the Court deny defendants’ Summary Judgment

   Motion as moot and grant his motion to dismiss the above-captioned case without prejudice, with

   each party to bear its own costs, and absent any of the limitations sought by the Defendants.

   Plaintiffs further request all other and further relief as the Court deems just and proper.

           Dated: November 7, 2019                         Respectfully submitted,


                                                           /s/ David C. DeGreeff
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the November 7, 2019, I electronically filed the foregoing document

   with the Clerk of the Court using the CM/ECF system which will send notification of such filing

   to the CM/ECF participants registered to receive service in this MDL.

                                                        /s/ David C. DeGreeff
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                                                        Jeffrey M. Kuntz           MO #52371
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